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                    UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT COURT OF ILLINOIS, EASTERN DIVISION

 IN RE: Lion Air Flight JT 610 Crash
                                                    Lead Case: 1:18-cv-07686
 YESENIA FERNANDEZ, as Special                      Original Case No.: 1:19-cv-02315
 Administrator of the Estate of NURUL
 DYAH AYU SITHARESMI,
                                                    Hon. Thomas M. Durkin
                               Plaintiff,
           v.
 THE BOEING COMPANY,
                               Defendant.


     JOINT STIPULATION OF DISMISSAL OF CLAIMS OF PLAINTIFF YESENIA
                              FERNANDEZ

       It is hereby stipulated and agreed, pursuant to Federal Rule of Civil Procedure Rule

41(a)(1)(A)(ii), by and between the Plaintiff, Yesenia Fenandez, as Special Administrator of the

Estate of Nurul Dyah Ayu Sitharesmi, deceased, and Defendant, The Boeing Company, through

undersigned counsel, that the claims of Plaintiff be dismissed, with prejudice and without costs to

any party, all costs having been paid and all matters in controversy for which said actions were

brought have been fully settled, compromised, or adjourned. The Court retains jurisdiction to

effectuate settlement, including enforcement, adjudication of liens, approval where necessary, and

any other pendant matters. This fully resolves case number 19-cv-02315, previously consolidated

with case number 18-cv-07686.



Dated: February 26, 2020

Respectfully submitted,

 /s/ Brian S. Kabateck                               /s/ Bates McIntyre Larson
 Brian S. Kabateck                                   Bates McIntyre Larson
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                             CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that s/he served the JOINT STIPULATION OF

DISMISSAL OF CLAIMS OF PLAINTIFF YESENIA FERNANDEZ upon all counsel of record

via CM/ECF on February 26, 2020.



Dated: February 26, 2020                              /s/ Brian S. Kabateck
                                                      Brian S. Kabateck
                                                      Attorney for Plaintiffs




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